960 F.2d 146
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sidney E. MEADORS, Plaintiff-Appellant,v.Aaron J. JOHNSON; Warden DIXON; Ernest R. SUTTON; OfficerMURDOX, Defendants-Appellees.
    No. 92-6074.
    United States Court of Appeals,Fourth Circuit.
    Submitted: March 31, 1992Decided: April 27, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-91-789-H)
      Sidney E. Meadors, Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Sidney E. Meadors appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Meadors v. Johnson, No. CA-91-789-H (E.D.N.C. Jan. 10, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    